                          UNITED STATES DISTRICT COURT
                         THE NORTHERN DISTRICT OF IOWA

SONJA DUNLAP,                                         )
                                                      )
                      Plaintiff,                      )
                                                      )          CASE NO. 1:11-cv-117
v.                                                    )
                                                      )
TERRY LOCKRIDGE and DUNN, INC.,                       )        NOTICE OF REMOVAL
TERRY LOCKRIDGE & DUNN, INC., and                     )
TER LOCK DUN, LTD,                                    )
                                                      )
                      Defendants.                     )

       Defendant Terry, Lockridge and Dunn, Inc. (“TLD”) (improperly named Terry

Lockridge & Dunn, Inc. and Ter Lock Dun, LTD), pursuant to 28 U.S.C. § 1441, et seq., for

removal of cause of action from the Iowa District Court for Linn County to the United

States District Court for the Northern District of Iowa, respectfully states:

       1.      TLD is the properly named defendant in a civil action commenced October

13, 2011, in the Iowa District Court for Linn County, entitled "Sonja Dunlap v. Terry

Lockridge and Dunn, Inc., Terry Lockridge & Dunn, Inc., and Ter Lock Dun, Ltd." (the

"state court action"). That action is docketed as No. LACV073892.

       2.      Defendant was served with the Original Notice and the Petition at Law on

October 20, 2011 by service upon its registered agent for service of process. Copies of the

Original Notice, the Petition at Law and Jury Demand are attached hereto and constitute

all process, pleadings and orders served upon Defendant in that cause of action.




            Case 1:11-cv-00117-LRR Document 1 Filed 11/03/11 Page 1 of 3
       3.      In the state court action, as set forth in the Petition at Law, Plaintiff Sonja

Dunlap seeks to recover from Defendant as a result of alleged violations of

the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq., and the Iowa Civil Rights

Act.

       4.      This Court has original jurisdiction over the claims alleged here. Count I of

the Petition at Law alleges violations of the Americans with Disabilities Act and the Iowa

Civil Rights Act. This Court possess original jurisdiction over such claims pursuant to

28 U.S.C. § 1331. Such claims may be removed to this Court pursuant to the provisions

of 28 U.S.C. § 1441(b).

       5.      Venue for removal to this Court is proper pursuant to the provisions of 28

U.S.C. § 1391(a).

       6.      To the extent Plaintiff’s action asserts any state law claims, the Court has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       WHEREFORE, Defendant hereby removes the state court action pending as No.

LACV073892 in the Iowa District Court for Linn County to this Honorable Court.



                                           /s/Mark P.A. Hudson
                                           MARK P.A. HUDSON                AT0003691
                                                         for
                                           SHUTTLEWORTH & INGERSOLL, P.C.
                                           115 Third Street SE, 500 U.S. Bank Bldg.
                                           P.O. Box 2107
                                           Cedar Rapids, IA 52406-2107
                                           PHONE:        (319) 365-9461
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                                           mph@shuttleworthlaw.com
                                           ATTORNEY FOR DEFENDANT


                                        2
            Case 1:11-cv-00117-LRR Document 1 Filed 11/03/11 Page 2 of 3
                             CERTIFICATE OF SERVICE

      The undersigned counsel hereby certifies that he caused copies of the foregoing

Notice of Removal to be served on counsel of record through the Court’s Electronic

Case Filing/Case Management (“ECF/CM”) system this 3rd day of November, 2011,

addressed to:
                           Matt Reilly
                           Eells & Tronvold Law Offices, PLC
                           1921 51st Street NE
                           Cedar Rapids, IA 52404
                           Matt@eels-tronvold.com

      Service via regular mail to:

                           Linn County Clerk of Court
                           Linn County Courthouse
                           P.O. Box 1468
                           Cedar Rapids, IA 52406-1468

                                              /s/Mark P.A. Hudson




                                     3
         Case 1:11-cv-00117-LRR Document 1 Filed 11/03/11 Page 3 of 3
